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                                    OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
                                  Northern District of California

                                         CIVIL MINUTES
 Date: November 15, 2023              Time: 3:05-3:10                    Judge: EDWARD M. CHEN
                                            5 Minutes

 Case No.: 20-cv-03845-EMC            Case Name: Google LLC v. Sonos, Inc.

Attorney for Plaintiff: Jeff Gerchick, Patrick Stafford
Attorney for Defendant: Alyssa Caridis, Will Melehani

 Deputy Clerk: Vicky Ayala                                 Court Reporter: Lee-Anne Shortridge


                                          PROCEEDINGS
Motion for Summary Judgment – Not held
                                             SUMMARY
Parties stated appearances.


Due to an emergency medical issue for Plaintiff’s counsel, Plaintiff requested that the hearing be
continued. Defendant’s counsel had no objection to the continuance and the hearing will be
continued to January 4, 2024, at 1:30 p.m.
The Court stated to the parties that it is particularly interested in, in regard to the authentication
theory, whether the accused authToken constitutes a private key and whether the preamble is
performed by the accused product. The Court is also particularly interested in, as to the strong
encryption theory, whether the private key is utilized by all devices (including the controller)
within the domain of devices.
CASE CONTINUED TO: January 4, 2023, at 1:30 P.M., for motion hearing.
